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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION


HANS MOKE NIEMANN,
                     Plaintiff,                        Case No: 4:22-cv-01110-AGF
      vs.
SVEN MAGNUS ØEN CARLSEN A/K/A
                                                       Hon. Audrey G. Fleissig
MAGNUS CARLSEN; PLAY MAGNUS AS,
D/B/A PLAY MAGNUS GROUP;
CHESS.COM, LLC; DANIEL RENSCH A/K/A
“DANNY” RENSCH; AND HIKARU
NAKAMURA,
                      Defendants.


 DEFENDANT MAGNUS CARLSEN’S NOTICE OF SUPPLEMENTAL AUTHORITY


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Jacob R. Schlueter                               Denise L. Plunkett*
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       Defendant Magnus Carlsen submits this Notice of Supplemental Authority to apprise the

Court of two recent decisions issued after briefing on his pending Motion to Dismiss the Second

Amended Complaint Under Connecticut General Statutes Section 52-196a and Federal Rule of

Civil Procedure 12(b)(6) concluded. See Smith v. Supple, 346 Conn. 928 (Conn. 2023) (attached

as Exhibit A); Pryor v. Brignole, 292 A.3d 701 (Conn. 2023) (attached as Exhibit B).

       These decisions, issued by the Connecticut Supreme Court on May 2, 2023, are pertinent

to the arguments advanced by the parties in relation to that fully briefed Motion. See, e.g., ECF

No. 82 at 11–18; ECF No. 108 at 7–9, 15–19; ECF No. 110 at 2–5, 8–9; see also Supple, 346

Conn. at 946 (explaining that Connecticut’s anti-SLAPP statute is “substantive” in that it confers

“a right to avoid costly and burdensome litigation on the merits”).



 Dated: June 9, 2023                             Respectfully submitted,

 STINSON LLP                                     AXINN, VELTROP & HARKRIDER LLP

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 9, 2023, the foregoing was filed electronically using

the CM/ECF system which will automatically provide notice to all attorneys of record by

electronic means.


 Dated: June 9, 2023                             Respectfully submitted,

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